Case 1:22-cr-00061-RBW Document 22 Filed 03/14/22 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA )
)
Vv. ) Criminal Action No. 22-61 (RBW)
)
JON NICHOLAS HENEGHAN and )
CAROL O’NEAL KICINSKI, )
)
Defendants. )
= )
ORDER

In accordance with the oral rulings issued by the Court at the status hearing held on
March 11, 2022, via teleconference, it is hereby

ORDERED that, on May 13, 2022, at 11:00 a.m., the parties shall appear before the
Court for a status hearing, via teleconference, by calling 1-877-873-8017 and entering the
Court’s access code (8583213) followed by the pound key (#). It 1s further

ORDERED that, as to the defendant Jon Nicholas Heneghan, with the defendant’s and
the government’s consent, the time from March 14, 2022, to May 13, 2022, is excluded under the
Speedy Trial Act, in light of the fact that the defendant and his counsel require additional time to
receive and review the discovery in this case. It is further

ORDERED that, as to the defendant Carol O’Neal Kicinski, with the defendant’s and the
government’s consent, the time from March 14, 2022, to May 13, 2022, is excluded under the
Speedy Trial Act, in light of the fact that the defendant and her counsel require additional time to

receive and review the discovery in this case
Case 1:22-cr-00061-RBW Document 22 Filed 03/14/22 Page 2 of 2

SO ORDERED this 14th day of March, 2022.

Kil Hb

"REGGIE B. WALTON
United States District Court Judge
